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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

ELIZABETH CASAS ,

                Plaintiff,

        vs.                                                No. 1:19-CV-01154-KRS

ANDREW SAUL, Commissioner of
Social Security,

                Defendant.

                                         JUDGMENT

        Having granted Plaintiff’s Motion to Reverse and Remand for a Hearing (Doc. 14) in an

order entered concurrently herewith, in accordance with Federal Rule of Civil Procedure 58,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is entered

in favor of Plaintiff.


                                            _____________________________________
                                            KEVIN R. SWEAZEA
                                            UNITED STATES MAGISTRATE JUDGE
